€72:0 00:0 €72:0 00:0

LY¥Odduy 11V9

o

oO ejoqgo ejoqo

&

& SJIEWADIOA 8 SJAMSUY 9AT] SJOMSUY 9AIT

\S

=

o

a

S

o

Tw

@

. pepunjay pesn supad |nyssaoons jEOL

w f f f

= cCS L G68 L eZLe G68 L

o

E

3

8 40-Pa199UU0D ON aR Tey-Et WSO h Cem T ele
%Bl-JaMsSuy ON %Ee-feUuBIS Asng

oh %-WEW Sd10A WST-SOMSUY SAN 1dJ Wd vr: 0Z0Z ‘OE 190 - OE-OL-07Z0Z ISeOpeojg 10} S}e}s Jseopeolg

00

©

©

0

a

>

Se

S

N

tc)

TLZOVAsx°T Kode 17a cere] O39 ole) oh) Red RMR] 20) hs Lele STAN ESL Je LUeLleeyeelesene || ze(0) 2] om 9) ard

a 4 SLO A LAL

